         Case 1:18-cv-03636-ELH Document 165 Filed 11/16/21 Page 1 of 3



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

MAYOR AND CITY COUNCIL OF                            )
BALTIMORE,                                           )
                                                     )
                       Plaintiff                     )
                                                     )
                                                          Civil Action No. 18-cv-3636 (ELH)
               v.                                    )
                                                     )
JOSEPH R. BIDEN JR., President, et al.               )
                                                     )
                       Defendants                    )

     JOINT STATUS REPORT IN RESPONSE TO AUGUST 18, 2021, ORDER AND
         DEFENDANTS’ UNOPPOSED MOTION TO STAY PROCEEDINGS

       The parties are filing this joint status report in response to the Court’s August 18, 2021,

Order, ECF No. 163, which granted the defendants’ request for a further stay of proceedings and

called for a status report by November 16, 2021. The defendants request that the Court extend

the stay of proceedings for 90 days (to February 14, 2022) as discussed further below.

       In this action, plaintiff Mayor and City Council of Baltimore, Maryland, challenges two

actions of the Department of State that relate to the “public charge” provision of the Immigration

and Nationality Act, 8 U.S.C. § 1182(a)(4)(A): (1) revisions made in January 2018 to a section of

the Department of State Foreign Affairs Manual, 9 FAM § 302.8, and (2) an October 2019

interim final rule, Visas: Ineligibility Based on Public Charge Grounds, 84 Fed. Reg. 54,996

(Oct. 11, 2019) (codified at 22 C.F.R. § 40.41). Neither of the challenged actions is currently

being applied. The January 2018 guidance was superseded by new guidance reflecting the

October 2019 rule and is no longer in use. The U.S. District Court for the Southern District of

New York entered a preliminary injunction barring enforcement of both of the challenged actions

in July 2020. See Make the Road N.Y. v. Pompeo, 475 F. Supp. 3d 232, 271 (S.D.N.Y. 2020). The

defendants filed an appeal from the July 2020 preliminary injunction, but the parties stipulated to
         Case 1:18-cv-03636-ELH Document 165 Filed 11/16/21 Page 2 of 3



dismissal of the appeal. See Mandate, Make the Road N.Y. v. Pompeo, Docket No. 20-3214

(S.D.N.Y. July 6, 2021), ECF No. 118.

       The defendants previously advised the Court that, on February 2, 2021, the President

issued an Executive Order calling for the Secretary of State to review agency actions related to

implementation of the public charge ground of inadmissibility. Exec. Order No. 14,012, 86 Fed.

Reg. 8277 (Feb. 2, 2021), https://www.govinfo.gov/app/details/FR-2021-02-05/2021-02563.

       In light of changed circumstances since the publication of the October 2019 rule, the

Department of State intends to publish a notice in the Federal Register soliciting additional

information from the public and reopening the comment period for 60 days. The notice has been

posted for public inspection and is scheduled to be published tomorrow, November 17, 2021. See

Visas: Ineligibility Based on Public Charge Grounds (to be published Nov. 17, 2021), https://

www.federalregister.gov/public-inspection/2021-25038/visas-ineligibility-based-on-public

-charge-grounds.

       In light of the Executive Order, the review the Department of State is conducting under

the Order, and the further anticipated action described above, the defendants request that the

Court extend the stay of proceedings for 90 days (to February 14, 2022). The plaintiffs do not

oppose the request if the Court provides for the stay to expire automatically in the event that the

preliminary injunction in Make the Road New York is lifted. The defendants do not object to that

condition.

       A proposed order is attached.

Date: November 16, 2021                         Respectfully submitted,

Jane Lewis #20981                               BRIAN D. NETTER
Assistant Solicitor                             Deputy Assistant Attorney General

                                                BRIGHAM BOWEN



                                                 2
         Case 1:18-cv-03636-ELH Document 165 Filed 11/16/21 Page 3 of 3



CITY OF BALTIMORE DEPARTMENT               Assistant Branch Director
OF LAW
City Hall, Room 109                        /s/ JAMES C. LUH
100 N. Holliday Street                     JAMES C. LUH
Baltimore, MD 21202                        Senior Trial Counsel
443-388-2190                               United States Department of Justice
jane.lewis@baltimorecity.gov               Civil Division, Federal Programs Branch
                                           1100 L St NW
/s/ John T. Lewis (with consent)           Washington DC 20530
John T. Lewis (D.C. Bar No. 1033826)       Tel: (202) 514-4938
(pro hac vice)                             E-mail: James.Luh@usdoj.gov
Karianne Jones (D.C. Bar No. 187783)
(pro hac vice)                             Attorneys for Defendants
Sean Lev (D.C. Bar 449936)
(pro hac vice)
DEMOCRACY FORWARD
FOUNDATION
P.O. Box 34553
Washington, DC 20043
(202) 448-9090
jlewis@democracyforward.org
kjones@democracyforward.org
slev@democracyforward.org

Jonathan E. Paikin (D.C. Bar No. 466445)
(pro hac vice)
Molly M. Jennings (D.C. Bar No. 1023087)
(pro hac vice)
Jamie Yood (D.C. Bar No. 1033919)
(pro hac vice)
Emily A. Farmer #20920
WILMER CUTLER PICKERING HALE
AND DORR, LLP
1875 Pennsylvania Avenue NW
Washington, DC 20006
(202) 663-6000
jonathan.paikin@wilmerhale.com
molly.jennings@wilmerhale.com
jamie.yood@wilmerhale.com
emily.farmer@wilmerhale.com

Attorneys for Plaintiffs




                                            3
